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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


Gregory Cain                                           Case No.

          Plaintiff,

v.                                                        COMPLAINT FOR DAMAGES
                                                       UNDER THE FAIR DEBT COLLECTION
Asset Acceptance, LLC                                   PRACTICES ACT, THE TELEPHONE
                                                        CONSUMER PROTECTION ACT AND
          Defendant.                                       OTHER EQUITABLE RELIEF


                                                        JURY DEMAND ENDORSED HEREIN


                                                 PARTIES

1. Plaintiff, Gregory Cain, (“Gregory”), is a natural person who resided in Ft. Myers Beach,

      Florida, at all times relevant to this action.

2. Defendant, Asset Acceptance, LLC, (“AA”), is a Delaware Limited Liability Company that

      maintained its principal place of business in Warren, Michigan, at all times relevant to this

      action.

                                    JURISDICTION AND VENUE

3.    Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

      arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq. and

      the Telephone Consumer Protection Act, U.S.C. §1367(a).

4.    Pursuant to 28 U.S.C. §1391(b), venue is proper because Defendant resides in this judicial

      district.

                                         STATEMENT OF FACTS

5. AA uses a predictive dialer system.




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6. Before AA began contacting Gregory, it and Gregory had no prior business relationship and

   Gregory had never provided express consent to AA to be contacted on his cellular telephone.

7. AA regularly uses instrumentalities of interstate commerce and the mails to collect consumer

   debts owed or due or asserted to be owed or due another.

8. The principal source of AA’s revenue is debt collection.

9. AA is a "debt collector” as defined by 15 U.S.C. §1692a(6).

10. As described, infra, AA contacted Gregory to collect a debt that was incurred primarily for

   personal, family, or household purposes.

11. This alleged obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

12. Gregory is a “consumer” as defined by 15 U.S.C. §1692a(3).

13. 	  On several occasions, the dates of which will be discovered through discovery, AA willingly

   and knowingly used an automatic telephone dialing system to call Gregory on his cellular

   phone multiple times in violation of the TCPA. See Mais v. Gulf Coast Collection Bureau,

   Inc., 2013 U.S. Dist. LEXIS 65603, *10 (S.D. Fla. 2013); See also Gager v. Dell Fin. Servs.,

   LLC, 727 F.3d 265 (3rd Cir. 2013).

14. Around December 2013, AA began contacting Gregory on Gregory’s cellular phone in

   connection with the collection of the debt.

15. During the initial communication, AA asked to speak with Gregory’s father, Richard,

   (“Father”).

16. During this communication, AA did not request Father’s location information.

17. During this communication, AA did not identify itself as a debt collector attempting to

   collect a debt.




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18. During this communication, AA advised Gregory it was important for Father to call AA

   back.

19. AA contacted Gregory for the sole purpose of collecting the debt, not for acquiring Father’s

   location information.

20. During this communication, Gregory requested AA cease further calls to Gregory.

21. Despite this request, AA contacted Gregory on Gregory’s cellular phone in connection with

   the collection of the debt on numerous occasions, most recently around May 2014.

22. Gregory repeatedly requested AA cease further calls to Gregory.

23. AA attempted to collect a debt from Gregory.

24. AA violated the FDCPA and the TCPA.

                                           COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

25. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

26. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

   which is to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.

                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

27. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

28. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading representations

   or means in connection with the collection of the debt.

                                         COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

29. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.




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30. Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable means to collect the

    debt.

                                                COUNT FOUR

                     Violations of the Telephone Consumer Protection Act

31. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

32. Defendant willingly and knowingly violated 47 U.S.C. § 227(b)(1)(A) on multiple and

    separate occasions by each time calling Plaintiff’s cellular telephone using both an automatic

    telephone dialing system without Plaintiff’s prior express consent.

                                          JURY DEMAND

33. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

34. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. An order enjoining Defendant from placing further telephone calls to Plaintiff’s

                cellular telephone number pursuant to 47 U.S.C. § 227(b)(3).

            c. Judgment against Defendant for statutory damages pursuant to 47 U.S.C. §

                227(b)(3) for each and every call Defendant made in violation of the TCPA.

            d. For such other legal and/or equitable relief as the Court deems appropriate.




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                                  RESPECTFULLY SUBMITTED,

                                  Hyslip & Taylor, LLC LPA


                                  By:     /s/ Jeffrey S. Hyslip
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Date: October 7, 2014




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